Case 2:04-cr-20327-SH|\/| Document 46 Filed 04/19/05 Page 1 of 2 Page|D 64

 

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FoR THE WESTERN DISTRICT oF 'I'EI\RJESSE:F0 w _ ` _
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UNITED sTATEs oF AMERICA, W_D, O;: m MEMFH!S

Plaintiff,
CR. NO. 04-20327*01#Ma

VS.

MICHAEL TODD COCHRAN,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on April lS, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Michael Todd Cochran, appearing in person and with
appointed counsel, Mr. Ned Germany.

With leave of the Court, the defendant entered a plea of
guilty to Counts l, 2 and 4 of the Indictment. Plea colloquy was
held and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, July 22, 2005 at
11:00 a.m.
The defendant may remain on his present bond pending

sentencing.

_WLEW; day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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Honorable Samuel Mays
US DISTRICT COURT

